  Case: 17-70019     Document: 00514905560         Page: 1    Date Filed: 04/08/2019

Case 3:14-cv-04556-K Document 34 Filed 04/08/19           Page 1 of 2 PageID 11673
               Supreme Court of the United States
                      Office of the Clerk
                  Washington, DC 20543-0001
                                                                   Scott S. Harris
                                                                   Clerk of the Court
                                                                   (202) 479-3011
                                  April 1, 2019


 Clerk
 United States Court of Appeals for the Fifth Circuit
 600 S. Maestri Place
 New Orleans, LA 70130


       Re: Mark Anthony Soliz
           v. Lorie Davis, Director, Texas Department of Criminal Justice,
           Correctional Institutions Division
           No. 18-7326
           (Your No. 17-70019)


 Dear Clerk:

       The Court today entered the following order in the above-entitled case:

       The petition for a writ of certiorari is denied.



                                         Sincerely,




                                         Scott S. Harris, Clerk
    Case: 17-70019    Document: 00514905562         Page: 1   Date Filed: 04/08/2019

 Case 3:14-cv-04556-K Document 34 Filed 04/08/19        Page 2 of 2 PageID 11674



                     United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                        TEL. 504-310-7700
CLERK                                                             600 S. MAESTRI PLACE,
                                                                          Suite 115
                                                                 NEW ORLEANS, LA 70130

                              April 08, 2019


Ms. Karen S. Mitchell
Northern District of Texas, Dallas
United States District Court
1100 Commerce Street
Earle Cabell Federal Building
Room 1452
Dallas, TX 75242

      No. 17-70019      Mark Soliz v. Lorie Davis, Director
                        USDC No. 3:14-CV-4556


Dear Ms. Mitchell,
Enclosed is a copy of the Supreme Court order denying certiorari.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Stacy M. Carpenter, Deputy Clerk
